CaSe:lS-lOQGB-TB|\/| DOC#ZJ_SJ_ Filed:lO/l?/J_S Entered:lO/l?/J_S 11252213 Pagel Of 13

Mbi_f§

DEBTOR(s):]_\§_BQ_M_?d L_LQ, MoNTHLY oPERATlNG REPoRT
cHAPTER 11
cAsE~uMBER: women
Fonn 2-A

COVER SHEET

For Period End Date: 9 \ E}§ )` 121

Accounting Method: Jccrua| Basis [:|Cash Basis

 

THlS REPURT IS DUE 21 DAYS AFTER THE END OF THE MONTH

Deb!or must attach each al the following documents unless the U. S. Truslee

 

Man< One 801 lor Each has waived the requirement in wliting. Fi|e the onginal with the C|erk ot Courr
Required Document‘ Submit a duplicate, with original signature lo the U. S. Truslee.
ReportlDocument Pr\vioudy
Amchad waived REQU|RED REPORTSlDOCUMENTS

 

l:l

. Cash Receipis and Disursements Statement (Form 2-B)
2. Balance Sheet (Forrn 2-C)

3. Profit and Loss Statement (Forrn 2-D)

4. Supporting Schedules (Forrn 2-E)

. Quaner|y Fee Summary (Form 2-F)

'6. Narrative (Form 2-G)

7. Bank Statemenls for A|l Bank Accounts

(Redact all but last 4 digits of account number and rem ove check images)
8. Bank Slatemenl Reconciliations for all Bank Accounls

E[ll`_`|{:||:|[:|

P§RRRRQ@A

9 Evidence of insurance for all policies renewed or replaced during month

 

l declare under penalty of pe)jury that the following Monthly Operating Report, and any
attachments thereto are true, accurate and correct to the best of my knowledge and belief.

Executed on: mm Print Name:

Signature:

Tir\e: W§m\©r

  

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DEBTOR(S):` §§B § BM) hi \!§:

Exhibit 5

MCE\L¢£>E>‘V(

CASE NO:

Form 2-B

CASH RECE|PTS AND D|SBURSEMENTE STATEMENT
Q| § ha to q

For Period:

CASH FLOW SUMMARY

'1. Beginning Cash Ba|ance

'2. Cash Receipts
Operations
Sa|e of Assets
Loans/advances
Other

Total Cash Receipts
'3. Cash Disbursements
Operav'ons
Debt Service/Secured loan payment

Professional fees/U.S. Trustee fees
Profession fees paid from Retainer (e.g. COLTAF acct)

other lux'\\ih'ce
Total Cash Disbursements

'4. Nei cash Flow (Total cash Receipts less
Tota| Cash Disbursements)

5 Ending Cash Ba|ance (to Form 2-C)

CASH BALANCE SUMMARV

Financial |nstitution

Petty Cash
DlP Operating Account

\_\\,le

_\qc`_%§m)_

Current
Monih

$523§¢.§;\'(1) $ Llll).°"n)

Accumu|ated

l

L\-’ZB‘E>O.QD
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$\&D.Bsd<z) $ \.Q.Z£?.;l&&@)

Book
Ba|ance

ko’b’l'\ .?>\0

 

 

 

DlP State Tax Account NlA

DlP Payron Account N lA
l

Other Operating Account \\j ) g
l

Retainers held by professionals (i.e. COLTAF) `

TOTAL (must agree with Ending Cash Ba|ance above)

$U)

(1) Accumulated beginning cash balance ls the cash available at the commencement of the case and retalners.
Current month beg'nn/'ng cash balance should equal the previous month's ending balance

(2) All cash balances should be the same.

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DEBToR(s):§ §f?_£j_§ §§B`Ef® w § Lgf cAsE No= WT%§/(
Form 2-B
CASH RECE|PTS A D DlSBURSEME TS STATEMENT
For Period: g l § bg tog_\&i|_\%
CASH DlSBURSEMENTS DETA|L Account NO: l
(attach additional sheets as necessary)
l Date l lCheck No.] l Payee l t Descriptjon (Purpose) l l Amount l
$
C\l\°~l\% los XCC\ owens \Ome .+\

Total Cash Disbursements $U'(t)

(1) Total for all accounts should agree with total cash disbursements listed on Form 2-B, page 1

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oEBToR(s): §§§Ej) 333be §l;f

Form 2-C

Exhibit 5

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COMPARAT|VE BA ANC SHEET
For Period Ended:

ASSETS
Current Assets:

Cash (from Form 2-B. line 5)

Accounts Receivable (from Form 2-E)
Receivab|e from Officers, Emp|oyees, Afl'iliates
Inventory

Other Current Assets :(List)

Total Current Assets

Fixed Assets;
Land
Building
Equipment. Furniture and Fixtures
Total Fixed Assets
Less: Accumulated Depreciation

Net Fixed Assets
Other Assets (List):

TOTAL ASSETS

LIABlLlTIES
Post-petition Accounts Payab|e (from Form 2-E)
Post-petition Accrued Profesional Fees (from Form 2- E)
Post-petition Taxes Payable (from Form 2~E)
Post-petition Notes Payab|e
Other Post-petition Payab|e(List);

Total Post Petition Liabi|ities

Pre Petition Liabi|ities:
Secured Debt
Priority Debt
Unsecured Debt

Total Pre Petition Liabilities
TOTAL LlAB|LlTlES

OWNERS' EQUlTY
Owner's/Stockholder's Equity
Retained Earnings - Prepetition
Retained Earnings - Post-petition

TOTAL OWNERS' EQUlTY
TOTAL LlAB|LlTlES AND OWNERS' EQUlTY

Current Petition
l\/|onth Date ( 1 )
sip’_)’)_'\ .%\o s

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$ $
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$M- GB_\Q..LQ_BEJE>’). .’ll

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\,zUl.OCO.' \.7_2)’1.¢>¢@:"

$ M‘F\`>
MLLB:F\$ MA=\

$ $

 

$\m\ $ Mwa
sometime win

(1) Pemlon date values are taken from die nebtor's balance sheet as of the petition date or are the values

Ilsted on the Debtor's schedules

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§M
DEBTOR<$)= nzz<aow,mw net <=ASE~<>: ie;\camve>v\
Form 2-D
PROF|T AND LOSS STATEMENT
For Period q,\ |\§ to
Current Accumulated
Month Total (1 )
Gross Operating Revenue $ $
Less: Discounts, Returns and A|lowances ( ) ( )
Net Operating Revenue $ 325 $

Cost of Goods Sold

_;z_
Gross Prot"it $ sz $ Sz§

Operating Expenses
Ofncer Compensation $ $
Se||ingl Genera| and Administrati`ve
Rents and Leases
Depreciation, Depletion and Amortization

other (list): Mfgcg>_ .\Ol .'Z.'\k> /'\'\ "l \ 590-53

Total Operating Expenses $ $ M
Operating lncome (Loss) $ ‘ 9 rl:\Q-Af\ $ s

Non-Operating lncome and Expenses
Other Non-Operating Expenses $ $
Gains (Losses) on Sa|e of Assets
lnterest lncome
interest Expense

Other Non-Operating lncome M,"
Net Non-Operating lncome or (Expenses) $ Q $ "

Reorganization Expenses
Legal and Professional Fees $

$
Other Reorganization Expense W'\
Total Reorganization Expenses $ $ ME\

Net lncome (Loss) Before lncome Taxes $ Sz§ $

Fecleral and State lncome Tax Expense (Beneflt)

NET lNcoME (Loss) $ “_B_’Qbf\-\ $ ’L"\.

(1) Accumulated Totals include all revenue and expenses since the petition date.

 

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DEBTOR(s);

For Period:

of tax
Federa|
income tax withheld
F|CA taxes withheld
F|CA taxes
taxes
Other;
State
use & excise taxes
taxes
Other:
Low|
Persona|
Real
Other:

 

Exhibit 5

haec adam w ttc. cAsE~o=E>;\ca@:a>\/i

Form 2-E (Page 1 of 2)

SUPFORT|NG SCHEDULES
q|\\§% to q`:£>`\@)

of Post-Petition Taxes
1 2 3 4

Unpaid post-petition Post-petltion taxes Post-petition tax Unpaid post-petition
taxes from prior accrued this month ( payments made this taxes at end of reporting
1 month month columns 1+2-

Total taxes

(1) For first report, the beginning balance in column 1 will be $0; thereafter, beginning balance will be ending balance from prior report.

of insurance
Workers'
General

Vehic|e

Other

Other

/f ` ` were renewed or

 

lnsurance

Premium paid through
carrier amount date date

.¢¢

attach new certificate of insurance

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Exhibit 5

DEBTOR(S)=MZ£D_SAM_%G_UL CASE NO=AE>M_TW

Form 2- E (Page 2 of 2)
SUPPORT|NG° SCHEDULE
For Period: 91 § |]2)

Accounts Receivable attach detailed

or less 31 to 60 61 to 90 Total at month end
receivables "’_' "“""’ """"

receivables

Post-Petition Accounts attach detailed

30 or less 31 to 60 61 to 90 Over Total month end
N

 

 

SCHEDULE OF PAYMENTS TO ATTORNEYS AND OTHER PROFESS|ONALS

 

 

Month-end Current Paid in
Retainer Month's Current Court Approval Month-end
Ba|ance Accrua| Month Date Ba|ance Due *
Debtor's Counsel $ $ $ $

 

Counse| for Unsecured
Creditors' Committee

Trustee's Counsel

Accountant

Other:

Total $

'Balance due to include fees and expenses incurred but not yet paid.

 

 

 

 

 

 

 

 

 

 

 

 

SCHEDULE OF PAYMENTS AND TRANSFERS TO PR|NCIPALSIEXECUT|VES**
Payee Name Position Nature of Payment Amount

 

 

 

 

 

 

 

 

 

 

 

 

 

"‘List payments and transfers of any kind and in any forth made to or for the benefit of any proprietor. owner. partner, shareholder, ofiicer, or director.

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Exhibit 5
DEBTOR(S): CASE NO: '°
Form 2-F
QUARTERLY FEE SUMMARY *
For the Month Ended: B\ZQ\)%_
Cash Quarterly Date
Month Vear Disbursements ** Fee Due Check No. Paid
January \ $
February
March 'Z_Dfl-®\Q
TOTAL 1a Quaner sw s ?jz‘:§." \00?3 iam
Ap'" $ \’b% . 5%
jay weeo.'i'o
mae .C\\

mem maher sm $1@; ii§>_ :iiialieL

litig/ust M $ m \ . O\ \

September M 2b '\*\-’-\%
TOTAL ard Quarter $ :[]§£§Q.]Q $ g E)” MDS_ 101151\19)_
October $
November
Decernber
TOTAL 401 Quarfel' $ $

 

 

ZDULE (as of JANUARY 1l 2008}
that may occur to 28 U.S.C. §1930(a) (6)

Quarterly Disbursements § Quarterhi Disbursements E_e

$O to $14, 999 ................. $325 $1.000, 000 to $1,999, 999 ............ $6, 500
$15. 000 to $74.999 ......... $650 $2,000.000 to $2,999,999 ............ $9,750
$75,000 to $149,999....... $975 $3,000,000 to $4,999,999 ............ $10,400
$150,000 to $224,999 ..... $1,625 $5.000,000 to $14.999,999 ....... $13,000
$225,000 to $299,999 ..... $1,950 $15,000,000 to $29,999,999.... $20,000
$300,000 to $999, 999 ..... $4.875 $30,000,000 or more $30,000

 

* `lhis summary is to reflect the current calendar year's information cumulative to the end of the reporting period

** Should agree with line 3. Form 2-B. Disbursements are net of transfers to other debtor in possession bank accounts

Failure to pay the quarterly feels cause for conversion or dismissal of the chapter 11 case. [11 U.S.C. Sec. 1112(b)(10)]

In addition, unpaid fees are considered a debt ovied to the United States and w'// be assessed interest under 31 U.S.C. §3717
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Exhibit 5
DEBToRlS)A_\U>_®iL\axLEALC CASE NO=M£):\E)M

Form 2-G

NARRA lVE
For Period Ending

Please provide a brief description of any significant business and legal actions taken by the debtor, its creditors,
or the court during the reporting period, any unusual or non-recurring accounting transactions that are reported in
the financial statementsl and any significant changes in the financial condition of the debtor which have occurred

susequent to the report date.

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P.O. Box 93885
C|eve|and, OH 44101-5885

2737 iAB o.aoa TaPi AuTo RTMix
11380 SM|TH ROAD, Ll_C
CASE#18-10965TB|\/|
DEBTOR lN POSSESS|ON
11380 Sl\/HTH RD

AURORA CO 80010'1406

T 10100000 R EM Ti

Enter§d:lO/l?
uSlneSS

September 30, 2018

1

89895398

baileri§§é§t§m§}ii@el° O‘° 13

page 1 of 2

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859500. 7-89895398-2737. l*

761011004022

Ouestions or comments?
Call our Key Business Fiesource Center
1-888-KEY4BIZ (1-888-539-4249)

 

Enro// in 0nl/`ne Bank/ng today at Key. com.

Access your available accounts, transfer funds and view your transactions right from your PC.

 

KeyBank Basic Business Checking 761011004022

11380 SM|TH ROAD, LLC
CASE#18-1 0965TBM

 

Beglnnlng balan§8~31-1

8 38,296.2`7`

 

 

 

oEBToR iN PossessioN 1 Addm°". +17'308'0°
1 Subtractlon -19,276.41
Ending balance 9~30-18 $6,327.86
Additions
Deposits Date Serial # Source
9-6 Déposit Branch 0101 CQ|OK@@|_Q _ 1 .$i_?,§@§;OQ
Total additions $17,308.00
Subtractions j ii j 1 1
Withdrawals Date Serial # n rLrocation`_ n t 7 _ _r _ t * m i__
‘§73-172m 7 _ Dir§:t Withdrawa|,'Xcel Eiergy-Fsco¢xce|energyiu j h:$¢1*9_,2'76;41
Total subtractions $1 9,276.41
Fees and
charges Date 7 n v j _ j Quanti_fy d nLlnit_C`ha_rge 7 f
9-28-18 Paper Statemehr Fee 1 3.`0;`)” j ~`$3.00
9_-_2_8-.,1§,, _§e_rv_i<_=s_Qha:s§__\/_.\/_aiy§ TQB¢'atiOnShiP Pri<=ino L_ 3-00 +3-QQ
Fees and charges this period $0.00

761011004022 - 00618
225

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.~v -vvvv-hi vi . iv

 

' (hereinafter referred to as interest) is computed using the Average Daiiy Ba|ance method .
'Average Daiiy Ba|ance method (Baiarice Sub|act to interest Flate): Your interest is

 

,l cusroMEn AccouNT oiscLosunE§

The following disclosures apply only to accounts covered by the Fedaral Truth-in-Lending
Act or the Federal Eiectronic Funds Transfer Act, as amendedl or similar state laws.

lN CASE OF ERF\OR OR QUEST|ONS ABOUT YOUR ELECTRON|C TRANSFERS:

Cal| us at the phone numberindicatad on the first page of this statement, OR write us at
the address listed balow', as soon as you can, if you think your statement or receipt is
wrong or if you need more information about a transfer listed on the statement or receipt.
We must haar from you no later than sixty (60) days after we sent you the FIRST statement
on whichthe problem or error appeared

 

' KeyBank

Customer Disputes
NY-31-17-0128

17 Corporate Woods B|vd
Albany, NY 12211

' Tall us your name and Account number‘.

' Describe the error or transfer that you are unsureabout, and explain as
clearly as you can why you believe it is an error or why you need more
inlormation;

' Te|l us the dollar amountof the suspected error.

if you tell us orally, we may require that you send us your complaint or question in writing
withinth (10) business days.

Wa will investigate your complaint and will correct any error prompt|y. if we take more
than ten (10) business days to do this, we will recredit your account for the amount you
think is in error, so that you will have use of the money during the time it takes us to
complete our investigation

COMMON ELECTRON|C TRANSACT|ON DESCR|PT|ONS:

XFER TO SAV - Transfer to Savings Account
XFER FROM SAV - Transfer from Savings Account
XFER TO CKG - Transfar to Checking Account
XFER FROM CKG ~ Transfer from Checking Account
PMT TO CR CARD - Payment to Cradit Card

ADV CR CARD ~ Advance from Credit Card

Freauthorized Credits: lt you have arranged to have direct deposits made to your
Account at least once every sixty (60) days from the same person or company, you can
call us at the numberindicated on the reverse side to find out whether or not the deposit
has been made.

lMPORTANT L|NE OF CRED|T lNFORMATlON

Wha! To Do if You Think You Find A Mistake on Your Statement: |f you thinkthere is
an error on your siatement, write us at: KeyBanK N.A., P.O Box 93885, Cleveland, OH
44101~ 4825.

in your letter, give us the following information:

- Account information : Your name and account number.

' Dollar Amount: The dollar amount of the suspected orror.

' Description of the Problem : lf you thinkther'e is an error on your bill, describe
what you believe is wrong and why you believe it was a mistake.

You must contact us within 80 days after the error appeared on your statement You must
notify us of any potential errors in writing. Vou may call us, but il you do we are not
required to investigate any potential errors and you may have to pay the amount in
question.

While we investigate whether cr not there has been an error, the following are true:

' We cannot try to collect the amount in question, or report you as delinquent on

inst amount. ' v “'* _ “' " ' ~ ' '

' The charge in question may remain on your statement, and we may continue to
charge you interest on that amount. But, if we determine that we made a
mistake. you will not have to pay the amount in question or any interest or
other fees related to that amount.

' While you dc not have to pay the amount in question, you are responsible for
the remainder of your balance.

v We can apply any unpaid amount against your credit limit.

Explanation of Finance Charge: Your Finance Gharge attributable to interest

computed on all purchases and cash advances (co|lective|y “advances") from the date
each advance is posted until we receive payment in full (there is no grace period). We
figure the interest on your line of credit by multiplying the daily periodic rate by the
"Avcrage Daiiy Ba|anca" of your line of credit (including current transactions) and
multiplying by the numberof days in the billing cyc|e. To get the Averago Daiiy Ba|ance
wa take the beginning balance of your line of credit each day, add any new advances or
debits. and subtract any payments and credits, any non-financed fees and unpaid interast.
This gives us the daily balance. Then we add up all of your daily balances in the billing
cycle and divide this total by the number of days in the billing cycle to get your Average
Daiiy Ba|ance.

CRED|T |NFORMAT|ON: if yo_u believe we have reported inaccurate information about
your account to a credit reporting agency. you may contact the credit reporting agency or
write to us at:

Key Credlt Research Department
P.O. Box 94518
C|eveland, hio44101-4518

Please include your account number,a copy of your credit report reflecting the inaccurate
inlorrnation, nams, address, city, state, and zip code. and an explanation of why you
believe thc information ia inocourato.

page 2 of 2

BALANC|NG YOUR ACCOUNT

Please examine your statement and paid check information
upon receipt. Erasures, alterations or irregularities should be
reported promptly in accordance with your account agreement
The suggested steps below will help you balance your account.

lNSTRUCTlONS
Verify and check off in your check register each deposit,
check or other transaction shown on this statement

Enter into your check register and SUBTRACT:

‘ Checks or other deductions shown on our statementthat
you have nofalready entered.

' The "Service charges", if anyl shown on your statement

9 Enter into your check register and ADD:
' Deposits or other credits shown on your statementthat
you have not already entered.
' The “lnterest earned” shown on your statement, if any.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6 List from your check 9 List any deposits from
register any checks or your check register that
other deductions that are notehown on your
are norshown on your statement
statement.

Check # Amount Date Amount
or Date
" TOTAL -) $
@ Enter ending balance
. shown on your
_ _ . __ _ s . _i§§af.s"l§f'.f:__ _
4 ` ' '_"` $
0 Add 5 and 6 and enter
total here.
$
9 Enter total from 4.
$
9 Subtract 8 from 7 and
enter difference here.
$
Thls amountshould agree with
TOTAL -) $ your check register balance.

 

 

 

 

 

 

 

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2130 PM 11380 Smith Rd, LLC
10/15,18 Reconci|iation Summary
KeyBank #4022, Period Ending 09/30/2018
Sep30,18
Beginning Ba|ance 8,296.27
C|eared Transactions
Checks and Payments - 1 item -19.276.41
Deposits and Credits -1 item 17,308.00
Total C|eared Transactions -1,968.41
C|eared Ba|ance 6,327.86
Register Ba|ance as of 09/30/2018 6,327.86
New Transactions
Checks and Payments - 1 item -6,044.52
Total New Transactions -6.044.52
Ending Ba|ance 283.34

 

Page 1

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11380 Smith Rd, LLC

2:30 PM
10/15/18

Reconci|iation Detai|

KeyBank #4022, Period Ending 09/30/2018

Type Date Num Name

Beginning Ba|ance
C|eared Transactions
Checks and Payments - 1 item
Check 09/12/2018 DR 09... Xce| Energy

Total Checks and Payments

Deposits and Credits - 1 item
Deposit 09/06/2018

Total Deposits and Credits
Total C|eared Transactions
C|eared Ba|ance
Register Ba|ance as of 09/30/2018

New Transactions
Checks and Payments - 1 item

Bi|| Pmt -Check 10/15/2018 TBD Weinman & ASSOcia...

Total Checks and Payments
Total New Transactions

Ending Ba|ance

Clr

Amount

-19.276.41
-19,276.41

17,308.00
17.308.00
-1.968.41
-1.968.41
-1,968.41

-6,044.52
-6,044.52
-6,044.52
-8,012.93

Ba|ance
8,296.27

-19.276.41
-19,276.41

17,308.00
17.308.00
-1,968.41
6,327.86
6,327.86

-6,044.52
-6.044.52
-6,044.52

283.34

Page 1

